Case 7:21-cr-00650-NSR Document 26-6 Filed 10/20/22 Page 1 of 4




                  Exhibit F
            Case 7:21-cr-00650-NSR Document 26-6 Filed 10/20/22 Page 2 of 4



October 13, 2022

Hon. Nelson Roman
The Hon. Charles L. Brieant Jr. Courthouse

Regarding: Aaron Finn


Dear Hon. Nelson Roman,


Time is one of the most precious gifts we are given. As it unfolds, our lives as well as the lives of
those around us are affected. We experience life events which shape our own as well as those around
us. If you would be so kind, I request you share a few moments from my life as well as how it has been
touched by Aaron.

My name is Anita L. Giaimo. I have lived in New York State now for the past 36 years. During this
time I married and have raised a family of four children and three step children. I was a member of the
US Coastguard Auxilliary as well as a member of the local fire department and am still active in many
volunteer functions with other groups . I have been working for the same company for nearly 30 years
now.

I was raised in the midwest in a smalll farming community with my father working as a farm hand and
my mother working as an E911 operator for the Meade County Sheriff's Department. I grew up being
raised around law enforcement seeing them care for the community as well as seeing the toll certain
tragic circumstances would take on individuals. So for me honor, family and stability are extremely
important.

As any mother wishes for their children, you wish for them to avoid pitfalls and not experience the
same things you did. I know when my second oldest daughter Amanda started dating, I was very
protective. The first two she dated were nice but not what I hoped for her. Then one day she brings
home this young man named Aaron. This was in 2009. Here was a young man who had expressed the
importance of meeting Amanda's family to gain approval. After a short time, we all warmed up to him
and were thankful of his respect and caring for my daughter.. He was light and jovial and loving. We
soon started calling him “AirBear” because his smile and hugs made everyone happy.

Every time that Aaron would come by the house, he was always offering to help with things. If he
didn't know how to do something, he would ask for help so he could be better .When Amanda needed
repairs to her car, he would jump in to help with the repairs. He didn't just help fix one thing or another
but sat with my now husband to discuss how to make the care more safe by being proactive. The both
of them rebuilt the front of her car. He has even done this for other family members including his sister-
in-law, Courtney with helping to do the same thing. He did this for everyone who needed help

Aaron hasn't just been kind and caring towards our family but also for his own. Severaly years ago, his
father had a a medical condition which incapacitated him. When it occurred, Aaron became the
primary person to take care of his father and his mother. He would run their errands, take his father to
the doctors office, help with groceries and any other items they could not take care of theirselves. He
helped to take care of them while working full time and starting a new life with Amanda. There
            Case 7:21-cr-00650-NSR Document 26-6 Filed 10/20/22 Page 3 of 4


became a point where the housing for his parents as becoming unstable, so he took it upon himself to
find a home, rehab it to fit his father's wheel chair and provide seclusion as his mother is reclusive. In
getting them moved in, he and his wife take it upon themselves to coordinate his parents groceries,
providing transportation to and from medical visits and making sure the house has firewood for the
winter and if there is a loss of power, comes and make sure the generator is working.

In reflecting back, I remember when Aaron told us that he was going to be going to for training to
become a corrections officer. Here a man stood before us to express all of the positive things he felt
would come out of his taking the position. He wanted to be the best he could be. We expressed our
concerns over the toll it might take on him as we had friends who where and are “COs”. He became a
member of the CERT team. He took place in the inmate seach up near Danamora, NY. Aaron always
replied it was so something he could do and it would have no negative effects on him.

This was so until October 28, 2019. This day changed Aaron. I didn't know anything had happened
until a little later when Amanda called to tell us that Aaron was in the hospital but was expected to be
ok. That he had been attacked by an inmate, receiving blows to the head and upper body. During the
struggle,he was stabbed a few times by a shank of some sort causing lacerations on his neck , chest and
other locations. According to media sources, he did not have immediate help from his fellow officers
and when they did arrive, pepper spray had no affect and it took multiple officers to pin the inmate
down for removal. When I asked Aaron what specifically happened, he didn't wan to talk about it.
Amanda called later crying and upset about seeing his the blood soaked shirts at the hospital. One of
the puncture wounds barely missed his carotid artery. I saw him in the days following. The bandages
on his neck, the bandages where punctures were made. He looked very drawn. He said it was also
from having to take the additional medications required to be taken if an officer was to come into
bodily fluid contact with an inmate. I didn't want to press him for further details. He said that he was
having a hard time sleeping and was rest less. He was to be out on medical leave for up to six months
if needed.

Our family started dealing with another emotionally moving family matter. My ex husband who lived
in Texas and was permanently disabled started having severe health issues and had his leg amutated
due to an aggressive growing bone cancer. He was not expected to live but a few months longer. We
were trying to figure out how to get his children down to see him. Aaron and Amanda pulled out
savings for air fare for Amanda's siblings. When their father passed on January 6, 2020, Aaron and
Amanda also helped to pull together shipping so the belongings their father wanted them to have could
be brought back for everyone, including a sibling living in Colorado.

When they returned from Texas, Aaron went back to helping his father and mother. When he and
Amanda would come over, he was so much more quite. When I asked if he was ok, he said he had had
a few nightmares and still not sleeping the best. He was just trying to stay busy and trying to forget
about what had happened. It bothered him to have felt helpless for those few moments. I could see it
wearing on his face.


During this time as we are all aware, the increasing concerns were growing over the number of people
becoming ill and dying due to what we now know as COVID. In February, we found out that the state
had reached out to individuals, who were out on leave, and requested them to return due to the
increasing number of guards getting sick. Aaron was one of the ones called to return to work. The
state was desperate and offering incentives for him to return. Aaron placed others ahead of himself. He
agreed to return to work. I think it was around the middle February . On March 01, 2020 the COVID
            Case 7:21-cr-00650-NSR Document 26-6 Filed 10/20/22 Page 4 of 4


outbreak became an national emergency.Aaron was now back to work, not fully recovered, helping to
take care of his father with Chronic health conditions and dealing with the emerging unknow virus
which was presented as being deadly. He was feeling the stress of what was happening. He stopped by
the house a couple of times to take a nap and grab a bit to eat as we only live a couple of miles from the
prison. It was quicker than driving about 40 mintes away to where he lived. He always looked tired.
By the 13th, the country was locked down.

When we heard about the incident which took place, It was hard for us to believe what happened.
When I was finally able to talk with Aaron, he told me he didn't remember exactly what happened fully,
just that when trying to cuff the inmate something happened and he blacked out. He said is scared him
greatly. What if he were to have something trigger him again? It mortified him to think he could
intentionally hurt another person. He was placed out on leave. Not sure if medical or administrative.
Over the next month or so he wrestled with what happened. He said he was not sure if he should
continue to be a CO. What if the continued stress from the position carried over into his family life.
He was afraid of what might happen. There had been no counseling for him to deal with his life being
threatened, and no support for what had happened with this incident. It had been only 145 days from
the day he was brutally assaulted until this event took place with all of the other stressers in between.

Due to his not receiving any help for dealing with the two events from the state and the fear of
something else happening, he left being a CO to pursue a line of work to help support his family. He
started a handyman business. Some of his first clients were at a retirement trailer parks over near
Dover. He shared photos of his work, some he did at cost for some in need. He became immersed in
working and learning a trade to help others. It also gave him time to work around the schedule he
needed to care for his father and mother as well as his desire to have a family.

On            , 2022,             Finn was born into the family. Since the incident happened with
Aaron,     's arrival helped Aaron focus on more positive things. For Aaron, his son has become his
whole world aside from his parents and wife and us. With the future up in the air, he has said that he
knows what happened was not right. He is willing to do what ever keeps him the least amount of time
from his son so he can help lead him on a better path himself. He wishes he had had the tools to combat
his own reactive response back then however is working on himself now to be a better man. What ever
he loses, he is willing to rebuild for the betterment of his family.

Your honor, I respect the law with the greatest of reverence. I am one who believes that what has
happened in our past does not define us but builds a path to a greater understanding. We can use that
experience to become a better version of ourself. I believe that if Aaron had received the proper
counseling after brutally being attached, there may have been a different future from what happened.
We cannot turn back the hands of time but can use the time served to change the future for not just one
but all. Thank you for time and consideration in listening to these words as spoken from the heart.


With regards,


Anita L Giaimo
